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                          IN THE UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF ARKANSAS
                                   WESTERN DIVISION

UNITED STATES OF AMERICA

VS.                                       4:04-CR-00035-05-BRW
                                          4:16-CV-00208-BRW

DARRYL WALKER

                                                  ORDER

        Petitioner’s Motion to Vacate, Set Aside, or Correct his sentence under 28 U.S.C. § 2255

(Doc. No. 655) is DENIED.

        Petitioner pleaded guilty aiding and abetting the possession of a firearm in a drug

trafficking offense which resulted in the death of another person. On November 19, 2007, he

was sentenced to 288 months in prison.1

        Petitioner asserts that he is actually innocent based on the United States Supreme Court’s

ruling in Rosemond v. U.S.2 However, it does not appear that the Supreme Court made

Rosemond retroactive to cases on collateral review.3 Even if it was retroactive, this petition is

untimely, because the one-year limitations period expired on March 5, 2015 – one year after the

Rosemond decision.4

        IT IS SO ORDERED this 9th day of February, 2016.


                                                           /s/ Billy Roy Wilson
                                                           UNITED STATES DISTRICT JUDGE



        1
         Doc. Nos. 421, 422.
        2
         134 S. Ct. 1240 (2014).
        3
          See Montana v. Cross, No. 14–CV–1019, 2014 WL 5091708, at *3 (S.D. Ill. Oct. 10, 2014)
(collecting cases).
        4
          28 U.S.C. § 2255(f)(3) (A 1-year period of limitations . . . shall run from . . . the date on which
the right asserted was initially recognized by the Supreme Court, if that right has been newly recognized
by the Supreme Court and made retroactively applicable to cases on collateral review. . . .”).

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